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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA            :
                                    :                Crim. No. 96-114(DRD)
            Plaintiff-Respondent,   :
                                    :                        ORDER
            v.                      :
                                    :
FRANKIE GONZALEZ,                   :
                                    :
            Defendant-Petitioner    :
                                    :
____________________________________:

       Petitioner, Frankie Gonzalez, having moved to make new findings and/or amend the

Court’s March 19, 2010 order denying Petitioner’s motion to reduce his sentence pursuant to 18

U.S.C. § 3582(c)(2); and the Court having considered the Petition and the government’s answer,

and concluding that by reason of a Clerk’s Office erroneous docket entry Petitioner has

misconstrued the Court’s March 19, 2010 order and that Petitioner lacks a legal basis for his

motion, and for the reasons set forth in an opinion of even date;

       IT is this 9th day of June, 2010 ORDERED that Petitioner’s motion is denied and

dismissed with prejudice.




                                                      s/ Dickinson R. Debevoise
                                                     DICKINSON R. DEBEVOISE
                                                            U.S.S.D.J.
